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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

MASTER LENDING GROUP, LLC,
Plaintiff,

vs. CASE NO. 4:21-cv-263
TRUIST BANK,
Defendant/Third-Party Plaintiff

vs.

HIRSCH & TUCKER, LLC
Third-Party Defendant

THIRD-PARTY DEFENDANT HIRSCH & TUCKER, LLC'S
DISCLOSURE STATEMENT OF INTERESTED PARTIES PURSUANT TOFEDERAL
RULES OF CIVIL PROCEDURE 1. AND S.D. Ga. LR 7.1.1

The undersigned, counsel of record for Hirsch & Tucker, LLC certifies that the following is a full

and complete list of the parties in this action:

Master Lending Group, LLC Plaintiff
Name +0 ist Bank Identification & Relationship pefendant/Third-Party Plaintiff
Hirsch & Tucker, LLC Third-Party Defendant

The undersigned further certifies that the following is a full and complete list of officers, directors,

or trustees of the above-identified parties:

Master Lending Group, LLC Identification & Relationship Greg Hirsch - sole member
Truist Bank unknown

Hirsch & Tucker, LLC Greg Hirsch and Jeff Tucker - members

Name

The undersigned further certifies that the following is a full and complete list of other persons,
firms, partnerships, corporations, or organizations that have a financial interest in, or another interest
which could be substantially affected by, the outcome of this case (including a relationship as a parent or

holding company or any publicly-held corporation that holds 10% or more of a party’s stock):

 

Name Unknown Identification & Relationship
4. (ij ubmitted, this JO day of Wook | 2022.
ThomasA . Nash, Jr., me

Counsel my Hirsch & a er, LLC

 
 

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: CERTIFICATE OF SERVICE

I hereby certify that on this 30" day of March, 2022, I electronically filed the
foregoing THIRD-PARTY DEFENDANT HIRSCH & TUCKER, LLC’S
DISCLOSURE STATEMENT OF INTERESTED PARTIES PURSUANT TO
FEDERAL RULES OF CIVIL PROCEDURES 1. AND S.D. Ga. LR 7.1.1 with the
Clerk of Court using the CM/ECF system, which will automatically send email

notification of such filing to the following attorneys of record:

Dwight T. Feemster, Esquire

DUFFY & FEEMSTER, LLC Victor L. Hayslip, Esquire

340 Eisenhower Drive Benjamin B. Coulter, Esquire

Suite 800, Second Floor Kevin R. Stone, Esquire

Savannah, Georgia 31406 Joseph H. Stuhrenberg, Esquire
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HOIPKEMIER, LLC Atlanta, Georgia 30363

1220 Langford Drive

Building 200, Suite 101
Watkinsville, Georgia 30677

This 30% day of March, 2022.

 

Thomas A. Nash, Jr.
(Georgia Bar No. 535150)
i Counsel for Third-Party Defendant

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